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                              SANFORD WIDRAN
                         6
                         7
                         8                              UNITED STATES DISTRICT COURT

                         9                          CENTRAL DISTRICT OF CALIFORNIA

                         10
                         11   SANFORD WIDRAN,                               CASE NO.
                         12
                                           Plaintiff,                       BREACH OF THE EMPLOYEE
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                         13                                                 RETIREMENT INCOME
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                         14         vs.                                     SECURITY ACT OF 1974;
                                                                            ENFORCEMENT AND
                         15   LIFE INSURANCE COMPANY OF                     CLARIFICATION OF RIGHTS;
                         16   NORTH AMERICA;                                PREJUDGMENT AND
                                                                            POSTJUDGMENT INTEREST;
                         17                Defendant.                       AND ATTORNEYS’ FEES AND
                         18                                                 COSTS

                         19
                         20         Plaintiff, Sanford Widran, herein sets forth the allegations of his Complaint
                         21   against Defendant Life Insurance Company of North America
                         22                              PRELIMINARY ALLEGATIONS
                         23         1.     This action is brought under 29 U.S.C. §§ 1132(a), (e), (f) and (g) of the
                         24   Employee Retirement Income Security Act of 1974 (hereinafter “ERISA”) as it
                         25   involves a claim by Plaintiff for employee benefits under an employee benefit plan
                         26   regulated and governed under ERISA. Jurisdiction is predicated under these code
                         27   sections as well as 28 U.S.C. § 1331 as this action involves a federal question.
                         28   This action is brought for the purpose of recovering benefits under the terms of an


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                         1    employee benefit plan, enforcing Plaintiff’s rights under the terms of an employee

                         2    benefit plan, and to clarify Plaintiff’s rights to future benefits under the employee

                         3    benefit plan wherein Plaintiff was a participant in the Plan. Plaintiff seeks relief,

                         4    including but not limited to, payment of the correct amount of benefits due him under

                         5    his plan, prejudgment and post-judgment interest, reinstatement to the benefit plan at

                         6    issue herein, and attorneys’ fees and costs.

                         7           2.     Plaintiff was at all times relevant, an employee of St. Jude Medical, Inc.

                         8    and resided in the County of Los Angeles, State of California.

                         9           3.     Defendant Life Insurance Company of North America (“LINA”) is a

                         10   corporation with its principal place of business in the State of Pennsylvania,

                         11   authorized to transact and transacting business in the Central District of California and

                         12   can be found in the Central District of California.
                                     4.     St. Jude Medical, Inc. Employee Benefit Plan (“the Plan”) is an employee
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                         14   welfare benefit plan regulated by ERISA, established by St. Jude Medical, Inc., under

                         15   which Plaintiff is and was a participant, and pursuant to which Plaintiff is entitled to

                         16   long term disability (“LTD”) benefits. Pursuant to the terms and conditions of the

                         17   Plan, Plaintiff is entitled to LTD benefits for the duration of Plaintiff’s disability, for

                         18   so long as Plaintiff remains disabled as required under the terms of the Plan. The Plan

                         19   is doing business in this judicial district, in that it covers employees residing in this

                         20   judicial district.

                         21          5.     LINA is the insurer of benefits under the Plan, Policy Number

                         22   LK0980158, and acted in the capacity of the Plan insurer and the Plan claims

                         23   administrator.

                         24          6.     Plaintiff is informed and believes that Policy Number LK0980158 was

                         25   issued with the intent to provide long term disability coverage to residents of the State

                         26   of California.

                         27          7.     Plaintiff is informed and believes that the Policy was renewed after

                         28   January 1, 2012.

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                         1                              FIRST CLAIM FOR RELIEF AGAINST

                         2                    LIFE INSURANCE COMPANY OF NORTH AMERICA

                         3                FOR PLAN BENEFITS, ENFORCEMENT AND CLARIFICATION

                         4         OF RIGHTS, PREJUDGMENT AND POSTJUDGMENT INTEREST,

                         5                          AND ATTORNEYS’ FEES AND COSTS

                         6                                  (29 U.S.C. § 1132(a)(1)(B))

                         7           8.     Plaintiff incorporates by reference all preceding paragraphs as though

                         8    fully set forth herein.

                         9           9.     At all times relevant, Plaintiff was employed by St. Jude Medical, Inc.,

                         10   and was a covered participant under the terms and conditions of the Plan.

                         11          10.    During the course of Plaintiff’s employment, Plaintiff became entitled to

                         12   benefits under the terms and conditions of the Plan. Specifically, while Plaintiff was
                              covered under the LTD Plan, Plaintiff suffered a disabling injury rendering Plaintiff
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                         14   disabled as defined under the terms of the Plan.

                         15          11.    Pursuant to the terms of the LTD Plan, Plaintiff made a claim to LINA

                         16   for LTD benefits under the Plan. LINA assigned Plaintiff Incident No.: 4086439. On

                         17   November 4, 2016, Defendant denied Plaintiff’s claim for LTD benefits. On May 9,

                         18   2017, Plaintiff timely appealed the denial of his claim for LTD benefits. LINA denied

                         19   Plaintiff’s appeal on October 31, 2017.

                         20          12.    When his appeal was denied, LINA offered Plaintiff a second voluntary

                         21   appeal, which appeal was timely submitted to LINA. On August 15, 2018, LINA

                         22   denied Plaintiff’s second level appeal, which exhausted his pre-litigation appeal rights

                         23   and obligations under the subject benefit plan.

                         24          13.    Defendant LINA breached the Plan and violated ERISA in the following

                         25   respects:

                         26                 (a)    By failing to pay LTD benefit payments to Plaintiff at a time

                         27          when Defendant knew, or should have known, that Plaintiff was entitled to

                         28

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                         1          those benefits under the terms of the Plan, as Plaintiff was disabled and

                         2          unable to work and therefore entitled to benefits;

                         3                 (b)    By failing to provide a prompt and reasonable explanation of the

                         4          basis relied on under the terms of the Plan documents, in relation to the

                         5          applicable facts and Plan provisions, for the denial of Plaintiff’s claims for

                         6          LTD benefits;

                         7                 (c)    By failing, after Plaintiff’s claim was denied, to adequately

                         8          describe to Plaintiff any additional material or information necessary for

                         9          Plaintiff to perfect his claim along with an explanation of why such material

                         10         is or was necessary; and

                         11                (d)    By failing to properly and adequately investigate the merits of

                         12         Plaintiff’s disability claim and failed to provide a full and fair review of
                                    Plaintiff’s claim.
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                         14         14.    Plaintiff is informed and believes and thereon alleges that Defendant

                         15   wrongfully denied his disability benefits under the Plan by other acts or omissions of

                         16   which Plaintiff is presently unaware, but which may be discovered in this future

                         17   litigation and which Plaintiff will immediately make Defendant aware of once said

                         18   acts or omissions are discovered by Plaintiff.

                         19         15.    Following the denial of benefits under the Plan, Plaintiff exhausted all

                         20   administrative remedies required under ERISA, and Plaintiff has performed all duties

                         21   and obligations on Plaintiff’s part to be performed under the Plan.

                         22         16.    As a proximate result of the aforementioned wrongful conduct of the

                         23   Plan and LINA, and each of them, Plaintiff has damages for loss of disability benefits

                         24   in a total sum to be shown at the time of trial.

                         25         17.    As a further direct and proximate result of this improper determination

                         26   regarding Plaintiff’s LTD claim, Plaintiff, in pursuing this action, has been required to

                         27   incur attorneys’ costs and fees. Pursuant to 29 U.S.C. § 1132(g)(1), Plaintiff is entitled

                         28   to have such fees and costs paid by Defendant.

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                         1          18.    The wrongful conduct of the Plan and LINA has created uncertainty

                         2    where none should exist, therefore, Plaintiff is entitled to enforce his rights under the

                         3    terms of the Plan and to clarify his rights to future benefits under the terms of the Plan.

                         4                                  REQUEST FOR RELIEF

                         5          WHEREFORE, Plaintiff prays for relief against Defendant as follows:

                         6          1.     Payment of disability benefits due Plaintiff;

                         7          2.     An order declaring that Plaintiff is entitled to an award of LTD benefits,

                         8    and that benefits are to continue to be paid under the LTD Plan for so long as Plaintiff

                         9    remains disabled under the terms of the LTD Plan;

                         10         3.     In the alternative to the relief sought in paragraphs 1 and 2, an order

                         11   remanding Plaintiff’s claim to the claims administrator to the extent any new facts or

                         12   submissions are to be considered;
                                    4.     Pursuant to 29 U.S.C. § 1132(g), payment of all costs and attorneys’ fees
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                         14   incurred in pursuing this action;

                         15         5.     Payment of prejudgment and post-judgment interest as allowed for under

                         16   ERISA; and

                         17         6.     Such other and further relief as this Court deems just and proper.

                         18
                         19   DATED: August 17, 2018                  KANTOR & KANTOR, LLP

                         20
                         21                                           By       /s/ Glenn R. Kantor
                                                                               Glenn R. Kantor
                         22                                                    Attorney for Plaintiff
                         23                                                    Sanford Widran
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                                                                      COMPLAINT
